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A093 Search and Seizure Warrant

UNITED STATES DISTRICT COURT

for the
District of Arizona

Inthe Matter of the Search of Case No. IA - % lod MM (>
6815 East Camelback Road, Apt #1010, Scottsdale, AZ

85251. (Filed Under Seal)

SEARCH AND SEIZURE WARRANT
To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search of the
following person or property located in the District of Arizona:

As further described in Attachment A.

1 find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or
property described above, and that such search will reveal:

As set forth in Attachment B.

: - p
YOU ARE COMMANDED to execute this warrant on or before wm Yu XB, Wir to. exceed 14 days)
in the daytime 6:00 a.m. to: 10:00 p.m. C at any time in the day or night as I find reasonable cause has been established.

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken
to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where
the property was taken.

The. officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
inventory as required by law and promptly return this warrant and inventory to any United States Magistrate Judge on
criminal duty in the District of Arizona.

N / A (11 find that immediate notification may have an adverse result listed in 18 U.S.C. § 2705 (except for delay of trial),
and authorize the officer executing this warrant to delay notice to the person who, or whose property, will be searched or
seized 1 for 30 days (not fo exceed 30) O until, the facts justifying, the later specific date of

Date and time issued: / 2- (7 7 #¢ *t A ~
Gl arn Judge's signature

City and state: Phoenix, Arizona Honorable Michelle H. Burns, U.S. Magistrate Judge
Printed name and title

 

 

 

 
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ATTACHMENT A
PROPERTY TO BE SEARCHED
6815 East Camelback Road #1010, Scottsdale, Arizona, 85251

The entire premises of apartment number 1010, located at 6815 Hast
Camelback Road, Scottsdale, Arizona, 85251. This address is part of the Optima
Sonoran Village complex that encompasses multiple land parcels,

The address known as 6815 East Camelback Road, Scottsdale, Arizona is a
multi-story apartment building located on the southeast corner of Camelback Road
and 68" Street in Scottsdale, Arizona. Apartment 1010 is located on the first floor,
northwest corner, of the building. The door to apartment 1010 is inside of a secure
area and located on the southeast portion of the unit facing lo the south. Affixed to

the door is a decorative peephole bearing the numbers “1-0-1-0” in black lettering.

 

 

 

 

 
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ATTACHMENT “B”

ITEMS TO BE SEIZED

1. Any records pertaining to the Paycheck Protection Program (PPP) or Economie Injury
Disaster Loans (EIDL) from 2020 or 2021.
a. Loan applications/agreements
b. Correspondence with the Small Business Administration or private lenders
c. Notes or ledgers pertaining to PPP or EIDL loan submissions or the receipt of
loan funds
2. Records from financial institutions from 2019, 2020, and 2021,
a, Account opening documents
b. Bank statements
c. All funds and credits, including cryptocurrencies, private keys and recovery
seeds, stored in or accessible via cryptocurrency wallets
3, Records pertaining to the formation and operation of business entities.
a. Corporation filings
b, Employee payroll records
c. Receipts for business expenses
d. Invoices or other proof of sales
e. Tax documents to include business formation, employee wages, and tax returns.
4, Any records, communications, and information relating to a conspiracy to submit
fraudulent PPP and EIDL applications.
5. Any electronic devices that can store and send information digitally to include cellular

telephones, smart phones, tablets, computers, and electronic media storage devices.

 

 
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6. Records relating to transactions involving digital assets or digital currency, including
date of transaction, amount, and name of exchange (e.g., Coinbase, Kraken).

7. Records, receipts, and information relating to any purchases occurring between March
1, 2020, to present including investments, property and/or vehicle deeds and/or titles.

8. Articles of personal property tending to establish the identity of persons who have
dominion and control over 6815 East Camelback Road #1010, Scottsdale, Arizona,
85251, or items to be seized, including but not limited to: rent receipts, utility
payments, utility bills, telephone bills, miscellaneous addressed mail, personal letters,
personal identification, keys, purchase receipts, sale receipts, tax statements,
photographs, and vehicle registrations.

9. Any/all currency (United States Federal Reserve notes and/or foreign currency) as well
as cashier’s checks, promissory notes, bonds, any/all negotiable instruments.

10, Passwords, encryption keys, passcodes, and other access devices that may be necessary
to access secured areas, items, or things otherwise listed in the search warrant and

located at 6815 East Camelback Road #1010, Scottsdale, Arizona, 85251.

 

 

 
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AQ 106 Application for a Search Warrant

UNITED STATES DISTRICT COURT

for the
District of Arizona

In the Matter of the Search of Case No. y Ale q we
6815 East Camelback Road, Apt #1010, Scottsdale, AZ a”

85251.

APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property:

As further described in Attachment A
located in the District of Arizona, there is now concealed:

As set forth in Attachment B.

The basis for the search under Fed, R. Crim. P. 41(c) is:
evidence of a crime;
contraband, fruits of crime, or other items illegally possessed;
property designed for use, intended for use, or used in committing a crime;
Ca person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

 

 

 

Code/Section Offense Description

18 U.S.C. § 1343 Wire Fraud

18 U.S.C. § 1957(a) Transactional Money Laundering
18 U.S.C, § 371 Conspiracy

 

The application is based on these facts:

See attached Affidavit of Special Agent Seth H. Thompson

Continued on the attached sheet.

CO Delayed notice of _30_ days (give exact ending date if more than 30 days: ) is requested
under 18 U.S.C, §3103a, the basis of which is set forth on the. attached sheet.

Reviewed by AUSA Raymond K, Woo RU MAE a...

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Seth H. Thompson, Special Agent, HSI
Printed name. and title

Sworn and subscribed to me telephonically, DVL Ae
C~ XK | ee

 

Date: ([2-/4 - Zoe! Judge's signature
City and state: Phoenix, Arizona Honorable Michelle H. Burns, U.S. Magistrate Judge

 

Printed name and title

 

 
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ATTACHMENT A
PROPERTY TO BE SEARCHED
6815. East Camelback Road #1010, Scottsdale, Arizona, 85251

The entire premises of apartment number 1010, located at 6815 Hast
Camelback Road, Scottsdale, Arizona, 85251. This address is part of the Optima
Sonoran Village complex that encompasses multiple land parcels.

The address known as 6815 East Camelback Road, Scottsdale, Arizona is a
multi-story apartment building located on the southeast corner of Camelback Road
and 68" Street in Scottsdale, Arizona. Apartment 1010 is located on the first floor,
northwest corner, of the building. The door to apartment 1010 is inside of a secure
area and located on the southeast portion of the unit facing to the south. Affixed to

the door is a decorative peephole bearing the numbers “1-0-1-0” in black lettering,

 

 

 

 
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ATTACHMENT “B”

ITEMS TO BE SEIZED

1, Any records pertaining to the Paycheck Protection Program (PPP) or Economic Injury

Disaster Loans (EIDL) from 2020 or 2021.

a.

b.

Loan applications/agreements
Correspondence with the Small Business Administration or private lenders
Notes or ledgers pertaining to PPP or EIDL loan submissions or the receipt of

loan funds

2. Records from financial institutions from 2019, 2020, and 2021.

Account opening documents
Bank statements
All funds and credits, including cryptocurrencies, private keys and recovery

seeds, stored in or accessible via cryptocurrency wallets

3. Records pertaining to the formation and operation of business entities.

&.

Corporation filings

Employee payroll records
Receipts for business expenses
Invoices or other proof of sales

Tax documents to include business formation, employee wages, and tax returns.

4. Any records, communications, and information relating to a conspiracy to submit

fraudulent PPP and EIDL applications.

5, Any electronic devices that can store and send information digitally to include cellular

telephones, smart phones, tablets, computers, and electronic media storage devices.

 

 

 

 
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6. Records relating to transactions involving digital assets or digital currency, including
date of transaction, amount, and name of exchange (e.g., Coinbase, Kraken).

7, Records, receipts, and information relating to any purchases occurring between March
1, 2020, to present including investments, property and/or vehicle deeds and/or titles.

8. Articles of personal property tending to establish the identity of persons who have
dominion and control over 6815 East Camelback Road #1010, Scottsdale, Arizona,
85251, or items to be seized, including but not limited to: rent receipts, utility
payments, utility bills, telephone bills, miscellaneous addressed mail, personal letters,
personal identification, keys, purchase receipts, sale receipts, tax statements,
photographs, and vehicle registrations.

9, Any/all currency (United States Federal Reserve notes and/or foreign currency) as well
as cashier’s checks, promissory notes, bonds, any/all negotiable instruments.

10. Passwords, encryption keys, passcodes, and other access devices that may be necessary
to access secured areas, items, or things otherwise listed in the search warrant and

located at 6815 East Camelback Road #1010, Scottsdale, Arizona, 85251.

 

 

 

 

 

 
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ATTACHMENT C

AFFIDAVIT IN SUPPORT OF APPLICATION FOR SEARCH WARRANT
I, Seth H. Thompson, being duly sworn, depose and state as follows:
I. INTRODUCTION AND AGENT BACKGROUND

1, I am a Special Agent with the Department of Homeland Security,
Immigration and Customs Enforcement, Homeland Security Investigations
(hereinafter, “HSI”), As such, I am an investigator or law enforcement officer of
the United States within the meaning of 18 U.S.C. § 2510(7), who is empowered to
conduct investigations of, and to make arrests for, offenses enumerated in Title 18,
United States Code.

2. I have been employed as a Special Agent with HSI since December,
2009. I attended the Federal Law Enforcement Training Center, in Brunswick,
Georgia, where I received investigative training in areas including, but not limited
to, narcotics smuggling, human smuggling/trafficking, financial investigations, and
cyber crimes. This training consisted of approximately 496 hours of basic law-
enforcement training and 456 hours of comprehensive classroom training in
different investigative techniques.

3, Prior to my position as a Special Agent with HSI, I was employed full
time with the Arizona National Guard’s Joint Counter Narco-Terrorism Task Force
as an intelligence analyst for seven years. During that time, I was assigned to work

with the Phoenix Police Department and then with ICE Office of Investigations. In

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2008, I received a Bachelor of Science degree in Political Science from Arizona
State University.

A, During my employment as a Special Agent with HSI, I have
patticipated in investigations involving, but not limited to, smuggling, narcotics
manufacturing and distribution, money laundering, and financial fraud. These
investigations have resulted in the seizure of illicit drugs, currency, firearms, and
real property. During these investigations, I have participated in interviewing
witnesses and cooperating sources and have read official. reports of similar
interviews by other officers. I have also participated in surveillance operations to
observe and record movements of persons suspected of being involved in criminal
activity.

5. Through my investigations, training, experience, and discussions with
other law enforcement personnel, I have become familiar with the tactics and
methods used by individuals to commit fraud as well as the tactics used to launder
the proceeds from fraudulent schemes.

Tl. PURPOSE OF AFFIDAVIT

6. I make this Affidavit in support of an application for a search warrant
for the premises located at 6815 East Camelback Road, Apt #1010, Scottsdale, AZ
85251. This location is further described in Attachment A.

7. Because this Affidavit is being submitted for the limited purpose of
securing a search warrant, I have not included each and every fact known to me

concerning this investigation. I have set forth facts that I believe are necessary to

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establish probable cause to believe that evidence of a violation of Title 18, United
States Code, Section 1343, Wire Fraud, a violation of Title 18, United States Code,
Section 1957(a), Transactional Money Laundering, and a violation of Title 18,
United States Code, Section 371, Conspiracy, are presently contained at 6815 East
Camelback Road #1010, Scottsdale, AZ 85251 as described in Attachment B.

8, Based on my involvement in this investigation and my review of
reports and information provided to me by Special Agents from the United States
Secret Service (hereinafter “USSS”), I am familiar with the circumstances of this
investigation.

I. BACKGROUND REGARDING CARES ACT

9, The Coronavirus Aid, Relief, and Economic Security (hereinafter
“CARES”) Act was enacted in March 2020 to provide emergency financial
assistance to the millions of Americans who were suffering the economic effects
caused by the COVID-19 pandemic.

10. The CARES Act authorized the Small Business Administration
(hereinafter “SBA”) to provide eligible small businesses with Economic Injury
Disaster Loans (hereinafter “EIDL”). The EIDL program was established to
provide low-interest loans to small businesses experiencing substantial disruption
from declared disasters. The declared disaster date for the COVID-19 pandemic is
January 31, 2020. Small businesses applying for an EIDL under the CARES Act

must have been operating prior to this date.

 

 

 
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11. Through EIDL, applicants can be issued an advance of up to $10,000.
This amount is determined by the number of employees the applicant certified as
employing as of January 31, 2020. The advance was not required to be repaid.

12. Small businesses could also apply for an EIDL if they were operating
prior to the disaster date, and they had 500 or fewer employees.

13. In order to obtain and EIDL, a business was required to submit an
application to the SBA and provide information about its operation, to include
business name, date of business establishment, number of employees as of January
31, 2020, gross revenue for the twelve months preceding the disaster, and cost of
goods sold in the twelve months preceding the disaster. If the application was
approved, the loan amount was determined in part by the information provided
regarding the gross revenues and the cost of goods sold. These loans were funded
directly from the SBA.

14. The CARES Act also created the Paycheck Protection Program
(hereinafter (“PPP”), which provided businesses with forgivable loans to be used
for job retention and certain other expenses. Like EIDL, businesses applying for
PPP loans were required to provide certain business information, including number
of employees and average payroll costs. Unlike EIDL, PPP loans were funded by
participating lenders.

IV. STATEMENT OF PROBABLE CAUSE
15. In February 2021, Your Affiant became aware of an individual

residing in Scottsdale, AZ named Ernest Lerma (hereinafter “LERMA”) suspected

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of having fraudulently received Economic Injury Disaster Loan (hereinafter
“EIDL”) funds from the Small Business Administration (hereinafter “SBA”). These
loans were made available by the SBA to businesses affected by the Covid-19
pandemic.

16. Investigation into LERMA revealed that he formed a corporation in
Arizona called Bluejay Secrets, LLC on April 7, 2020.

17. On April 2, 2021, SA Thompson received records from Alaska USA
Federal Credit Union for account 4934906 belonging to Bluejay Secrets in which
LERMA is the only signer.

18. A review of these records revealed the account had received large
deposits from several business entities between July 2020 and September 2020. It
was. also discovered that there were large payments made from the account to an
entity called Seguros Y Mas during the same period.

19. Further investigation revealed Seguros Y Mas, LLC is an Arizona-
based corporation owned by Nino Mihilli (hereinafter “MIHILLI”). It was found
that MIHILLI was the subject of a USSS investigation in which he was believed to
have conspired with others to fraudulently obtain EIDL and Paycheck Protection
Program (hereinafter “PPP”) loans.

20. The USSS investigation found that MIHILLI and at least two co-
conspirators likely recruited numerous individuals to provide business names and
bank accounts to be used for the purpose of submitting fraudulent EIDL and PPP

loan applications in their own names, Once those individuals received the

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fraudulent loan funds from the SBA, or a private lender in the case of PPP loans,
they would pay a portion of those funds to their recruiter, who would then pay a
portion of those funds to MIHILLI. It is believed MIHILLI was typically the one
who prepared the fraudulent loan applications due to the fact that most of the IP
addresses used to submit the applications were registered to him or to companies
owned by him.

21. In August 2021, your Affiant was provided with copies of EIDL
applications from the SBA that revealed each of the business entities who had sent
Bluejay Secrets, LLC large sums of money had each received HIDL funds
beforehand. In addition, the SBA provided your Affiant with two EIDL applications
submitted on behalf of an Arizona-based corporation owned by LERMA called
Squabble, LLC.

22. On July 1, 2020, LERMA electronically submitted an EIDL
application to the SBA on behalf of Squabble, LLC. The application claimed that
in 2019, the corporation received $300,005 in gross earnings, had $100,000 in cost
of goods sold, and employed fifteen employees. Your Affiant received records for
two bank accounts belonging to Squabble, LLC, both of which were not opened
until 2020. Certified records provided by the Arizona. Department of Economic
Secutity (hereinafter “DES”) found that there were no reported employee wages for
Squabble, LLC in 2019 or 2020. This loan application was ultimately denied by the

SBA.

 

 
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23. On July 2, 2020, LERMA electronically submitted a second EIDL
application to the SBA on behalf of Squabble, LLC. This application claimed that
in 2019 the company had gross earnings of $300,000, cost of goods sold of $10,000,
and ten employees. This application was also denied by the SBA.

24, On July 21, 2020, Daniel Bahena Ortiz (hereinafter “BAHENA
ORTIZ) electronically submitted an EIDL application to the SBA on behalf of The
Engineur, LLC, an Arizona-based corporation owned by BAHENA ORTIZ. The
Certificate of Completion for the application was submitted using an IP address
registered to MIHILLI. The application claimed that in 2019, the corporation had
gross earnings of $850,000, cost of goods sold of $400,000, and ten employees.

25. As part of the EIDL application, BAHNEA ORTIZ provided a Bank
of America bank account belonging to the Engineur, LLC. A review of this account
found that in the twelve months prior to January 31, 2020 (date of disaster
established by the SBA; qualifying applicant businesses must have existed prior to
this date), the account only received a total of $585. Arizona DES records show
that there were no employee wages reported for The Engineur, LLC in 2019 or 2020.

26.  OnJuly 22, 2020, the SBA approved an EIDL for The Engineur, LLC
in the amount of $150,000 and on July 23, 2020, The Engineur, LLC bank account
received a deposit from the SBA in the amount of $149,900 (minus $100 processing
fee). On July 27, 2020, a $30,000 cashier’s check was drawn from the account and

made payable to Bluejay Secrets, LLC.

 

 
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27. On July 23, 2020, Stephen Dison (hereinafter “DISON”)
electronically submitted an EIDL application to the SBA on behalf of Three Ball
Climbing, LLC, an Arizona-based corporation owned by DISON. The Certificate
of Completion for the application was submitted using an IP address registered to a
company owned by MIHILLI. The application claimed that in 2019 the company
had gross earnings of $950,000, cost of goods sold of $400,000, and twelve
employees.

28. As part of the EIDL application, DISON provided a JPMorgan Chase
bank account belonging to Three Ball Climbing, LLC. A review of this account
found that in the twelve months prior to January 31, 2020, the account received a
total of only $117,000 in deposits. Arizona DES records show that there were no
employee wages reported for Three Ball Climbing, LLC in 2019 or 2020.

29. On August 6, 2020, the EIDL for Three Ball Climbing, LLC was
approved by the SBA and on August 10, 2020, the Three Ball Climbing, LLC bank
account received a deposit from the SBA in the amount of $149,900. On or about
August 18, 2020, a $30,000 business check was withdrawn from the account made
payable to Bluejay Secrets, LLC.

30. On July 24, 2020, BAHENA ORTIZ electronically submitted a an
EIDL application to the SBA on behalf of USA Fast, LLC, an Arizona-based
corporation owned by BAHENA ORTIZ. ‘The Certificate of Completion for the

application was submitted using an IP address registered to a company owned by

 

 

 
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MIHILLI. The application claimed that in 2019, the corporation had gross earnings
of $950,000, cost of goods sold of $400,000, and twelve employees.

31. As part of the EIDL application, BAHENA ORTIZ provided a Bank
of America bank account belonging to USA Fast, LLC. A review of this account
found that from account opening on July 9, 2019 to January 31, 2020 the account
received a total of only $5,614.93. Arizona DES records found that no employee
wages were reported for USA Fast, LLC in 2019 or 2020.

32. On July 24, 2020, an EIDL for USA Fast, LLC was approved by the
SBA for the amount of $150,000 and on July 28, 2020, the USA Fast, LLC account
received a deposit from the SBA in the amount of $149,900. On July 30, 2020,
$30,000 was electronically transferred from USA Fast, LLC to Bluejay Secrets,
LLC.

33. On August 5, 2020, Vanessa Ortiz (hereinafter “ORTIZ”)
electronically submitted an EIDL application to the SBA on behalf of Urban Goods,
LLC, an Atrizona-based corporation owned by ORTIZ. The application was
submitted using an IP address registered to a company belonging to MIHILLI. The
application claimed that in 2019, the corporation had gross earnings of $700,000,
cost of goods sold of $350,000, and ten employees.

34. As part of the EIDL application, ORTIZ provided a Desert Financial
Credit Union account belonging to Urban Goods, LLC. The bank account was

opened on August 5, 2020 (same day EIDL application was submitted) with a zero

 

 

 

 
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balance, Arizona DES records show that there were no employee wages reported
for Urban Goods, LLC in 2019 or 2020,

35. On August 5, 2020, an EIDL for Urban Goods, LLC was approved for
the amount of $150,000, and on August 7, 2020, the Urban Goods, LLC account
received a deposit from the SBA in the amount of $149,900. On August 11, 2020,
$30,000 was electronically transferred from Urban Goods, LLC to Bluejay Secrets,
LLC.

36. On August 5, 2020, Brandon Hearvey (Hereinafter “HEARVEY”)
electronically submitted an EIDL application to the SBA on behalf of Rammi Scott,
LLC, an Arizona-based corporation that HEARVEY is a member of. The
application was submitted using an IP address previously used by LERMA to
electronically submit an unemployment benefit claim to the State of Arizona. The
application for Rammi Scott, LLC claimed that in 2019, the corporation had gross
earnings of $800,000, cost of goods sold of $25,000, and eight employees.

37. As part of the EIDL application, HEARVEY provided a JPMorgan
Chase bank account belonging to Rammi Scott, LLC. The bank account was opened
on July 28, 2020. Arizona DES records show that there were no employee wages
reported for Rammi Scott, LLC in 2019 or 2020,

38. On August 10, 2020, an EIDL was approved by the SBA for Rammi
Scott, LLC for the amount of $150,000, and on August 12, 2020, the Rammi Scott,

LLC account received a deposit from the SBA in the amount of $149,900, On

10

 

 

 

 

 

 

 
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August 12, 2020, a cashier’s check was withdrawn from the account in the amount
of $18,000 made payable to Bluejay Secrets, LLC.

39. On August 18, 2020, Robert Adams II (hereinafter “ADAMS”)
electronically submitted an EIDL application on behalf of 007 Ventures, LLC, an
Arizona-based corporation owned by ADAMS. The Certificate of Completion for
the application was submitted using an IP address registered to MIHILLI. The
application claimed that in 2019, the corporation had gross earnings of $700,000,
cost of goods sold of $350,000, and nine employees.

40. As part of the EIDL application, ADAMS provided a Wells Fargo
bank account belonging to 007 Ventures, LLC. A review of this account found that
from October 2, 2019 when the account was opened, to January 31, 2020, the
account received a total of only $8,300. Arizona DES records show that there were
no employee wages reported for 007 Ventures, LLC in 2019 or 2020.

41. On August 31, 2020, an EIDL for 007 Ventures, LLC was approved
by the SBA for the amount of $150,000, and on September 2, 2020, the account for
007 Ventures, LLC received a deposit from the SBA in the amount of 149,900. Also
on September 2, 2020, a $30,000 electronic transfer was made from 007 Ventures,
LLC to Bluejay Secrets, LLC.

42. On August 20, 2020, Ariana Vazquez (hereinafter “VAZQUEZ”)
electronically submitted an EIDL application on behalf of Wet Haute Couture, LLC,
an Arizona-based corporation owned by VAZQUEZ. The application was

submitted using an IP address registered to a company owned by MIHILLI. The

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application claimed that in 2019, the corporation had gross sales of $950,000, cost
of goods sold of $400,000, and seven employees.

43. As part of the EIDL application, VAZQUEZ provided a Wells Fargo
bank account belonging to Wet Haute Couture, LLC. A review of this account
found that in the twelve months prior to January 31, 2020, a total of only $35,563.31
was deposited into the account. Arizona DES records found that there were no
employee wages reported for Wet Haute Couture, LLC in 2019 or 2020.

44, On September 4, 2020, an EIDL for Wet Haute Couture, LLC was
approved by the SBA for the amount of $150,000, and on September 9, 2020, the
account for Wet Haute Couture, LLC received a deposit from the SBA in the amount
of $149,900. Also on September 9, 2020, a $30,000 electronic transfer was made
from Wet Haute Couture, LLC to Bluejay Secrets, LLC.

45, Between July 29, 2020 and September 14, 2020, LERMA made five
payments utilizing the Bluejay Secrets, LLC bank account to MIHILLI’s Seguros
Y Mas bank account totaling $108,500.

46. Onor about October 28, 2021, co-conspirator B.R. was interviewed
by law enforcement in the District of Nevada. B.R. had previously submitted a PPP
loan for his company ATeam NV LLC. B.R. confirmed he was assisted by
NIKOLAS MIHILLI (who is the brother of MIHILLI) in applying for a PPP loan
on May 29, 2020 that contained false information and documentation. B.R. also

confirmed that he met MIHILLI through NIKOLAS MIHILLI.

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47. B.R.’s company, ATeam NV LLC, was approved for a PPP loan of
approximately 1.5 million. NIKOLAS MIHILLI instructed B.R. to pay portions of
the loan to people who assisted B.R., which included himself, MIHILLI, and to D.B.
An IP address belonging to MIHILLI was used to submit part of the PPP loan for
BR.

48. Onor about June 13, 2020, a $150,581 cashier’s check frora B.R. was
deposited into NIKOLAS MIHILLI’s bank account.

49,  Onor about June 16, 2020, a $150227 cashier’s check from B.R. was
deposited into MIHILLI’s bank account.

50. Areview of telephone records for 480-270-2105, a number registered
to LERMA, found that between April 13, 2020 and July 7, 2020, LERMA
communicated with MIHILLI on thirteen different days. ‘(hen beginning on July 8,
2020, communication between the two became much more frequent. This
corresponds with the approximate time period (July 21, 2020) that loans began to
be submitted by individuals recruited by LERMA.

51. On December 1, 2021, SA Tony Bueno served a DHS Summons to
the property management office at Optima Sonoran Village. This is the apartment
complex in which LERMA was believed to reside. Upon receipt of the Summons,
a leasing agent of Optima Sonoran Village confirmed that LERMA currently resides
at 6815 East Camelback Road, Apt #1010, Scottsdale, AZ. Furthermore, the leasing
agent also provided SA Bueno with a copy of the lease agreement that states the

same,

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52. Because the EIDL and PPP loan application processes were done
electronically, it is likely that evidence of fraud is still stored on electronic devices
located in LERMA’s residence. This stored evidence could likely include copies of
loan applications/agreements, records of electronic funds transfers, correspondence
with the SBA and other lenders, and correspondence between co-conspirators. It is
also reasonable to believe. physical copies of financial documents and documents
related to the formation and operation of business entities controlled by LERMA
will also be stored at his residence.

V. COMPUTERS, ELECTRONIC STORAGE, AND FORENSIC

ANALYSIS

52. As described above and in Attachment B, this application seeks
permission to search for records that might be found on the PREMISES, in whatever
form they are found, One form. in which the records might be found is data stored
on a computer’s hard drive or other storage media. Thus, the warrant applied for
would authorize the seizure of electronic storage media or, potentially, the copying
of electronically stored information, all under Rule 41(e)(2)(B).

53. Probable cause. I submit that if a computer or storage medium is
found on the PREMISES, there is probable cause to believe those records will be
stored on that computer or storage medium, for at least the following reasons:

a. Based on my knowledge, training, and experience, I know that
computer files or remnants of such files can be recovered months

or even years after they have been downloaded onto a storage

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medium, deleted, or viewed via the Internet. Electronic files
downloaded to a storage medium can be stored for years at little or
no cost. Even when files have been deleted, they can be recovered
months or years later using forensic tools. This is so because when
a person “deletes” a file on a computer, the data contained in the
file does not actually disappear; rather, that data remains on the
storage medium until it is overwritten by new data,

b. Therefore, deleted files, or remnants of deleted files, may reside in
free space or slack space—that is, in space on the storage medium
that is not currently being used by an active file—for long periods
of time before they are overwritten. In addition, a computer’s
operating system may also keep a record of deleted data in a “swap”
or “recovery” file.

c. Wholly apart from user-generated files, computer storage media—
in particular, computers’ internal hard drives—contain electronic
evidence of how a computer has been used, what it has been used
for, and who has used it. To give a few examples, this forensic
evidence can take the form of operating system configurations,
artifacts from operating system or application operation, file system
data structures, and virtual memory “swap” or paging files.

Computer users typically do not erase or delete this evidence,

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because special software is typically required for that task.
However, it is technically possible to delete this information.

d. Similarly, files that have been viewed via the Internet are
sometimes automatically downloaded into a temporary Internet
directory or “cache.”

50. Forensic evidence. As further described in Attachment B, this
application seeks permission to locate not only computer files that might serve as
direct evidence of the crimes described on the warrant, but also for forensic
electronic evidence that establishes how computers were used, the purpose of their
use, who used them, and when. There is probable cause to believe that this
forensic electronic evidence will be on any storage medium in the PREMISES

because:

a. Data on the storage medium can provide evidence of a file
that was once on the storage medium but has since been deleted or
edited, or of a deleted portion of a file (such as a paragraph that has
been deleted from a word processing file). Virtual memory paging
systems can leave traces of information on the storage medium that
show what tasks and processes were recently active. Web browsers,
e-mail programs, and chat programs store configuration information
on the storage medium that can reveal information such as online

nicknames and passwords. Operating systems can record additional

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information, such as the attachment of peripherals, the attachment of
USB flash storage devices or other external storage media, and the
times the computer was in use. Computer file systems can record
information about the dates files were created and the sequence in
which they were created, although this information can later be

falsified.

b. As explained herein, information stored within a computer
and other electronic storage media may provide crucial evidence of
the “who, what, why, when, where, and how” of the criminal conduct
under investigation, thus enabling the United States to establish and
prove each element or alternatively, to exclude the innocent from
further suspicion. In my training and experience, information stored
within a computer or storage media (e.g., registry information,
communications, images and movies, transactional information,
records of session times and durations, internet history, and anti-
virus, spyware, and malware detection programs) can indicate who
has used or conttolled the computer or storage media. This “user
attribution” evidence is analogous to the search for “indicia of
occupancy” while executing a search warrant at a residence. The
existence or absence of anti-virus, spyware, and malware detection

programs may indicate whether the computer was remotely accessed,

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thus inculpating or exculpating the computer owner. Further,
computer and storage media activity can indicate how and when the
computer or storage media was accessed or used, For example, as
described herein, computers typically contain information that log:
computer user account session times and durations, computer activity
associated with user accounts, electronic storage media that
connected with the computer, and the IP addresses through which the
computer accessed networks and the internet. Such information
allows investigators to understand the chronological context of
computer or electronic storage media access, use, and events relating
to the crime under investigation. Additionally, some information
stored within a computer or electronic storage media may provide
crucial evidence relating to the physical location of other evidence
and the suspect. For example, images stored on a computer may both
show a particular location and have geolocation information
incorporated into its file data. Such file data typically also contains
information indicating when the file or image was created. The
existence of such image files, along with external device connection
logs, may also indicate the presence of additional electronic storage
media (e.g., a digital camera or cellular phone with an incorporated
camera). The geographic and timeline information described herein

may either inculpate or exculpate the computer user. Last,

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information stored within a computer may provide relevant insight
into the computer user’s state of mind as it relates to the offense
under investigation. For example, information within the computer
may indicate the owner’s motive and intent to commit a crime (e.g.,
internet searches indicating criminal planning), or consciousness of
guilt (e.g., running a “wiping” program to destroy evidence on the
computer or password protecting/encrypting such evidence in an

effort to conceal it from law enforcement).

C, A person with appropriate familiarity with how a computer
works can, after examining this forensic evidence in its proper
context, draw conclusions about how computers were used, the

purpose of their use, who used them, and when.

d. The process of identifying the exact files, blocks, registry
entries, logs, or other forms of forensic evidence on a storage medium
that are necessary to draw an accurate conclusion is a dynamic
process. While it is possible to specify in advance the records to be
sought, computer evidence is not always data that can be merely
reviewed by a review team and passed along to investigators.
Whether data stored on a computer is evidence may depend on other
information stored on the computer and the application of knowledge

about how a computer behaves. Therefore, contextual information

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necessaty to understand other evidence also falls within the scope of

the warrant.

e. Further, in finding evidence of how a computer was used, the
purpose of its use, who used it, and when, sometimes it is necessary
to establish that a particular thing is not present on a storage medium.
For example, the presence or absence of counter-forensic programs or
anti-virus programs (and associated data) may be relevant to

establishing the user’s intent.

f. I know that when an individual uses a computer to obtain
unauthorized access to a victim computer, the individual’s computer
will generally serve both as an instrumentality for committing the
crime, and also as a storage medium for evidence of the crime. The
computer is an instrumentality of the crime because it is used as a
means of committing the criminal offense. The computer is also
likely to be a storage medium for evidence of crime. From my
training and experience, I believe that a computer used to commit a
crime of this type may contain: data that is evidence of how the
computer was used; data that was sent or received; notes as to how
the criminal conduct was achieved; records of Internet discussions
about the crime; and other records that indicate the nature of the

offense.

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53. Necessity of seizing or copying entire computers or storage media. In most
cases, a thorough search of a premise for information that might be stored
on storage media often requires the seizure of the physical storage media
and later off-site review consistent with the warrant. In lieu of removing
storage media from the PREMISES, it is sometimes possible to make an
image copy of storage media. Generally speaking, imaging is the taking of
a complete electronic picture of the computer’s data, including all hidden
sectors and deleted files. Either seizure or imaging is often necessary to
ensure the accuracy and completeness of data recorded on the storage
media, and to prevent the loss of the data either from accidental or
intentional destruction. This is true because of the following:

a. The time required for an examination. As noted above, not
all evidence takes the form of documents and files that can
be easily viewed on site. Analyzing evidence of how a
computer has been used, what it has been used for, and
who has used it requires considerable time, and taking that
much time on a premise could be unreasonable. As

explained above, because the warrant calls for forensic

 

 

electronic evidence, it is exceedingly likely that it will be
necessary to thoroughly examine storage media to obtain
evidence. Storage media can store a large volume of

information. Reviewing that information for things

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described in the warrant can take weeks or months,
depending on the volume of data stored, and would be

impractical and invasive to attempt on-site.

b. Technical requirements. Computers can be configured in
several different ways, featuring a variety of different
operating systems, application software, and
configurations. Therefore, searching them sometimes
requires tools or knowledge that might not be present on
the search site. The vast array of computer hardware and
software available makes it difficult to know before a
search what tools or knowledge will be required to analyze
the system and its data on the PREMISES. However,
taking the storage media off-site and reviewing it in a
controlled environment will allow its examination with the

proper tools and knowledge.

c. Variety of forms of electronic media. Records sought
under this warrant could be stored in a variety of storage
media formats that may require off-site reviewing with

specialized forensic tools.

54. Nature of examination. Based on the foregoing, and consistent with Rule
41(e)(2)(B), the warrant I am applying for would permit seizing, imaging,

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or otherwise copying storage media that reasonably appear to contain some
or all of the evidence described in the warrant, and would authorize a later
review of the media or information consistent with the warrant. The later
review may require techniques, including but not limited to computer-
assisted scans of the entire medium, that might expose many parts of a hard
drive to human inspection in order to determine whether it is evidence

described by the warrant.

VI. CONCLUSION
55. Based on the forgoing, I respectfully request that this Court issue a
search warrant for 6815 East Camelback Road #1010, Scottsdale, AZ 85251
(Attachment A) for the items to be seized listed in Attachment B, as evidence
relating to the commission of criminal offenses in violation of Title 18, United
States Code, Section 1343, Title 18, United States Code, Section 1957(a), and Title

18, United States Code, Section 371.

 

ma EE.
SETH, PHQMPSON
Special Agent

Homeland Security Investigations

Telephonically subscribed and sworn to me on the [oJ day of December,

2021,
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HONORABLE MICHELLE H. BURNS
United States Magistrate Judge

 

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